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  7                         UNITED STATES DISTRICT COURT
  8                       CENTRAL DISTRICT OF CALIFORNIA
  9                                   WESTERN DIVISION
 10
      WESLEY HUMPSTON,                            CASE NO.: 2:20-cv-10018-AB-KSx
 11
                         Plaintiff,
 12                                               [PROPOSED] ORDER TO
      v.                                          EXTEND TIME TO RESPOND TO
 13                                               COMPLAINT BY NOT MORE
      THOMAS BLACK, ANTHONY                       THAN 30 DAYS (L.R. 8-3)
 14   HAWK, THE BERRICS, LLC, DOES 1-
      10 inclusive,                               COMPLAINT SERVED: SERVICE
 15                                               WAIVED ON JANUARY 20, 2021
                         Defendants.              CURRENT RESPONSE DATE:
 16                                               FEBRUARY 10, 2021
                                                  NEW RESPONSE DATE: MARCH
 17                                               12, 2021

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            The Court having considered the Stipulation to Extend Time to Respond to the

 21
      Second Amended Complaint, Defendant The Berrics, LLC’s time to respond shall be

 22
      extended to March 12, 2021.

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            GOOD CAUSE BEING FOUND, IT IS SO ORDERED.

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      DATED: February __, 2021
                                                      _____________________________
 26                                                               Hon. Andre Birotte Jr.
 27                                                          United States District Judge
 28

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                [PROPOSED] ORDER TO EXTEND TIME TO RESPOND TO INITIAL COMPLAINT
